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                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA

 VIASAT, INC.                         )        Case No. 3:16-463-BEN-JMA
 a Delaware corporation,              )
      Plaintiff and Counter-Defendant,)        ViaSat’s Ex Parte Application For Leave
                                      )        to Correct Errors in its Motions for
 v.                                   )        Summary Judgment and to Exclude
                                      )        Expert Testimony
 ACACIA COMMUNICATIONS, INC.          )
 a Delaware corporation,              )        No Oral Argument
      Defendant and Counter-Claimant. )        Application Under Submission
                                      )
                                      )        Hon. Dist. Judge Roger T. Benitez
                                      )        Hon. Magistrate Judge Jan M. Adler
                                      )        Case Initiated: January 21, 2016
 __________________________________ )


                                    VIASAT’S EX PARTE APPLICATION FOR LEAVE TO CORRECT ERRORS
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                                      INTRODUCTION
      This ex parte application seeks an Order allowing ViaSat to file corrected versions of
  two memoranda of points and authorities, both filed on February 2, 2018. In its papers
  opposing these memoranda, Acacia pointed out citation errors in ViaSat’s papers. ViaSat
  regrets having submitted briefs containing such errors, and wishes the Court to consider
  only papers that properly cite applicable case law. ViaSat therefore seeks leave to file
  corrected versions of the two memoranda, which repair the errors without changing their
  substance.
                                       BACKGROUND
      On February 2, 2018, ViaSat filed its Memorandum in Support of Summary
  Judgment on Acacia’s Counterclaim for Patent Misappropriation, Docket No. 89-1, and
  its Memorandum of Points and Authorities in Support of ViaSat’s Motion to Exclude
  Expert Testimony, Docket No. 95-1. On Friday, February 16, 2018, Acacia filed its
  oppositions, in which it identified several citation errors contained within ViaSat’s
  motions. Docket Nos. 119 and 120. We immediately investigated Acacia’s statements,
  and confirmed that both memoranda indeed contained inadvertent errors caused by
  mistakes of ViaSat’s counsel. See Declaration of Matthew S. Warren attached as Exhibit
  A (“Warren Decl.”) ¶ 3. ViaSat and its counsel apologize to the Court and to Acacia for
  these errors.
      The Court should consider only properly cited papers, and so ViaSat seeks leave to
  correct these errors by filing corrected versions of its briefs. None of these changes alter
  the substance of ViaSat’s arguments or introduce new authorities. ViaSat thus
  respectfully requests that the Court allow ViaSat to file corrected versions of these two
  briefs. ViaSat will not object if Acacia wishes to amend its previously filed opposition
  papers to respond to ViaSat’s corrections.




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                                         DISCUSSION
  I.   Memorandum in Support of Summary Judgment on Acacia’s Counterclaim for
       Patent Misappropriation

       A.    Erroneous Quotation Marks at 4:5-6
       ViaSat erroneously included quotation marks at page 4, lines 5 through 6, of its
  Memorandum in Support of Summary Judgment on Acacia’s Counterclaim for Patent
  Misappropriation. Docket No. 89-1. ViaSat proposes to correct this error by removing
  the quotation marks and adding “see” to the citation, as shown in redline in Exhibit B at
  4:7-9. With these changes, this portion of ViaSat’s Memorandum for Summary Judgment
  should read:
       The preliminary question of equitable ownership is not a federal question.
       See Arachnid, Inc. v. Merit Indus., Inc., 939 F.2d 1574, 1580 (Fed. Cir. 1991) . . . .
  As corrected, this language appears in ViaSat’s proposed corrected motion at 4:7-9.
  Because ViaSat previously filed two versions of this motion, a public redacted version
  and an unredacted version filed under seal, ViaSat has similarly provided two versions of
  the proposed corrected version: a public redacted version as Exhibit C, and an
  unredacted version filed under seal as Exhibit F. Without the quotation marks, the
  citation is correct. Arachnid states, at page 1580:
       Arachnid also relies on Papazian v. American Steel & Wire Co. of New Jersey, 155
       F.Supp. 111, 115 USPQ 333 (N.D. Ohio 1957), in which the court indicates that once
       a plaintiff’s claim of equitable ownership has been adjudged valid by a court having
       jurisdiction over that question, the same court could then proceed to consider a
       “claim for infringement” asserted by the adjudged equitable title holder. Id. at 118,
       115 USPQ at 337. Arachnid misconstrues the import of the holding in Papazian,
       which was that where a plaintiff has been adjudged the equitable title holder of a
       patent, a federal district court has jurisdiction to consider claims for equitable relief
       stemming from the alleged infringement:
             An owner of the equitable title may seek redress against an infringer in a court
             of equity. If he has been fraudulently induced to part with his title, he may sue
             in equity for rescission of the transfer and if successful may obtain full redress
             for infringement by way of injunction, accounting, declaration of trust, or
             other forms of equitable relief. Where, upon the face of the pleadings, or the

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             exhibits attached thereto, it is apparent that plaintiff’s equitable interest arises
             under the patent laws, a District Court has jurisdiction in equity under Section
             1338 of Title 28 U.S.C. to hear and determine a claim for infringement.
      Id. at 117, 115 USPQ at 336 (emphasis added). In other words, a federal district
      court has jurisdiction to determine a “claim for infringement,” asserted by an
      adjudged equitable title holder, as a prerequisite to awarding equitable relief for that
      infringement.

  Arachnid, 939 F.2d at 1580 (emphasis in original). Arachnid thus distinguishes between
  a plaintiff which “has been adjudged the equitable title holder of a patent,” who can seek
  equitable relief against an infringer in federal district court, and a plaintiff which has not
  been “adjudged the equitable title holder,” who cannot. Id. In short, page 1580 of
  Arachnid supports the proposition that the preliminary question of equitable ownership is
  not a federal question. ViaSat accordingly proposes to remove its erroneous quotation
  marks, without which this citation is accurate.
      B.     Erroneous Citation at 4:7-10
      On page 4, lines 7-10, of its summary judgment memorandum, ViaSat attributed a
  quotation to the wrong court. ViaSat used a quote from Gellman v. Telular Corp., No.
  07-282, 2010 WL 5173213 (E.D. Tex. Dec. 14, 2010), that immediately cited Board of
  Trustees of Leland Stanford Junior Univ. v. Roche Molecular Sys., Inc., 583 F.3d 832, 841
  (Fed. Cir. 2009)—but ViaSat attributed the quote to the Roche opinion cited in Gellman
  rather than to Gellman itself. ViaSat proposes to resolve this error by correcting the
  citation to show that Gellman cited Roche, as shown in redline in Exhibit B at 4:9-13:
      . . . . see also Gellman v. Telular Corp., No. 07-282, 2010 WL 5173213, at *4 (E.D.
      Tex. Dec. 14, 2010), aff’d, 449 F. App’x 941 (Fed. Cir. 2011) (citing Board of
      Trustees of Leland Stanford Junior Univ. v. Roche Molecular Sys., Inc., 583 F.3d
      832, 841 (Fed. Cir. 2009), aff’d, 563 U.S. 776 (2011)) (“The question of ownership
      of patent rights is typically a question resolved by state courts under state law.”)
  As corrected, this language appears in ViaSat’s proposed corrected memorandum at
  4:9-13, and correctly cites the Gellman opinion, which states:



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      The question of ownership of patent rights is typically a question resolved by state
      courts under state law, but the question of whether contractual language effects a
      present assignment of future rights or an agreement to assign rights in the future is
      resolved by Federal Circuit law. Board of Trustees of Leland Stanford Junior Univ.
      v. Roche Molecular Sys., Inc., 583 F.3d 832, 841 (Fed. Cir. 2009), cert. granted, –––
      S.Ct. –––– (Nov. 1, 2010).

      ViaSat accordingly proposes to correct the citation to refer to Gellman, with the
  appropriate explanatory phrase.
      C.     Erroneous Citation at 4:22-23
      On page 4, lines 22-23, of its summary judgment memorandum, ViaSat attributed a
  second quotation to the wrong court. ViaSat used a quote from Papazian v. Am. Steel &
  Wire Co. of N.J., 155 F. Supp. 111, 117 (N.D. Ohio 1957), but attributed it to Arachnid,
  939 F.2d at 1580. The language ViaSat quoted from Papazian is quoted in part—but not
  in full—by Arachnid, 939 F.2d at 1580. As a result, ViaSat erred by indicating that
  Arachnid quoted the full excerpt from Papazian. ViaSat proposes to correct this error by
  removing the reference to Arachnid, as shown in redline in Exhibit B at 4:25-26. As
  corrected, this portion of ViaSat’s Memorandum for Summary Judgment should read:
      Where, as here, “there is no diversity jurisdiction and plaintiff’s equitable title to the
      patent must be established solely by the application of equitable principles, the case
      is not one arising under the patent laws, and the District Court is without jurisdiction
      of the claim for infringement until and unless plaintiff’s claim of equitable
      ownership is first adjudged valid by a court having jurisdiction of that question.”
      Papazian v. Am. Steel & Wire Co. of N.J., 155 F. Supp. 111, 117 (N.D. Ohio 1957).

  The corrected language appears in ViaSat’s proposed corrected memorandum at 4:19-25.
  Page 117 of Papazian states, in part:

      While the authorities are not in full harmony, the better reasoned cases hold that
      where there is no diversity jurisdiction and plaintiff’s equitable title to the patent
      must be established solely by the application of equitable principles, the case is not
      one arising under the patent laws, and the District Court is without jurisdiction of the
      claim for infringement until and unless plaintiff’s claim of equitable ownership is
      first adjudged valid by a court having jurisdiction of that question.


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       While the Arachnid court paraphrased the Papazian holding, it quoted only a
  portion: “adjudged valid by a court having jurisdiction over that question.” Arachnid,
  939 F.2d at 1580 (emphasis in original). ViaSat accordingly proposes to correct the
  citation by removing the citation to Arachnid, as well as the explanatory phrase.
  II. Memorandum of Points and Authorities in Support of ViaSat’s Motion to
      Exclude Expert Testimony

       In Footnote 2 to its Memorandum of Points and Authorities in Support of ViaSat’s
  Motion to Exclude Expert Testimony, Docket No. 95-1 (“ViaSat’s Daubert
  Memorandum”), ViaSat erroneously included quotation marks. ViaSat proposes to
  correct this error by removing the quotation marks, as shown in redline in Exhibit D at
  9 n.2. With the erroneous quotation marks removed, this portion of ViaSat’s Daubert
  Memorandum should read:
      Both experts’ interpretation of fact witness testimony in support of their contract
      construction is also inadmissible. PharmaStem Therapeutics, Inc. v. ViaCell, Inc.,
      491 F.3d 1342, 1348–59 (Fed. Cir. 2007) (excluding an expert’s opinion that is
      merely a layperson’s interpretation of evidence disguised as expert opinion).
  As corrected, this language appears in ViaSat’s proposed corrected memorandum at 9 n.2.
  Because ViaSat previously filed two versions of this motion, a public redacted version
  and an unredacted version filed under seal, ViaSat has similarly provided two versions of
  the proposed corrected version: a public redacted version as Exhibit E, and an
  unredacted version filed under seal as Exhibit G. Without the quotation marks, the
  citation is correct. Page 1349 of PharmaStem explains the reasoning of the underlying
  trial court:
       In that respect, according to the court, “her opinion of infringement is no more than a
       lay-person’s interpretation of the defendants’ marketing materials.” The court
       therefore ruled that her testimony should have been excluded and that “permitting
       PharmaStem to couch its presentation of this evidence in the form of an expert
       opinion was an error.”
  PharmaStem, 491 F.3d at 1349. The Federal Circuit agreed with this reasoning:
       In short, we agree with the trial court that the defendants’ materials did not constitute
       sufficient proof of infringement of the ’681 patent and that those materials did not

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       become proof of infringement when Dr. Hendrix read those materials back to the 
       jury from the witness stand. 

  PharmaStem , 491 F.3d at 1355.  The Federal Circuit thus excluded expert opinion where 
  it was merely a layperson’s interpretation of evidence.  ViaSat accordingly proposes to 
  remove its erroneous quotation marks, without which this citation is accurate. 
                                        CONCLUSION 
       For the foregoing reasons, ViaSat respectfully requests that the Court allow it to file 
  corrected versions of its Memorandum in Support of Summary Judgment on Acacia’s 
  Counterclaim for Patent Misappropriation, Docket No. 89­1, and ViaSat’s Memorandum 
  of Points and Authorities in Support of ViaSat’s Motion to Exclude Expert Testimony, 
  Docket No. 95­1.  If Acacia seeks to amend its previously filed opposition papers to 
  respond to ViaSat's corrections, ViaSat respectfully requests that the Court allow Acacia 
  to do so as well. 
   
  Dated:  February 19, 2018                      Respectfully Submitted, 
   
   
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                                               – 6 –                                                3:16­463­BEN­JMA  
                                                        
